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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

 CITIBANK, N.A., NOT IN ITS
 INDIVIDUAL CAPACITY, BUT SOLELY
 AS SEPARATE TRUSTEE FOR PMT NPL
 FINANCING 2015-1,
      Plaintiff,
 v.
                                                            Case No. 14-13593-GAO
 RENEE ANNA NAJDA et al.,
     Defendants,
 v.

 SANTANDER BANK N.A. f/k/a
 SOVEREIGN BANK, Party-in-Interest,




 RENEE ANNA NAJDA et al.,
     Defendants/Counterclaim Plaintiffs,
 v.

 CITIBANK, N.A., … FOR PMT NPL
 FINANCING 2015-1 et al.,
      Plaintiff/Counterclaim Defendants,


     DEFENDANTS’ MEMORANDUM ON WHY THERE WAS NEITHER COMPLETE
          NOR MINIMAL DIVERSITY WHEN THE ACTION COMMENCED


I.     INTRODUCTION

       Defendants/Counter-Plaintiffs Renee and Andrew Najda (collectively, the “Najdas”),

respond to this Court’s order for a memorandum (D. E. No. 473) by stating when this action




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commenced, the original plaintiff, Citibank No. 11, was a passive trustee, without real and

substantial control, of SWDNSI 20102, an unincorporated entity. Pursuant to Navarro Sav. Ass’n

v. Lee, 446 U.S. 458, 465-66 (1980), SWDNSI 2010’s citizenship controlled for evaluating

diversity because the trustee was passive. Pursuant to Americold Realty Trust v. ConAgra Foods,

Inc., 577 U.S. 378, 383 (2016), SWDNSI 2010, an unincorporated entity, inherited the citizenship

of all its members, including those sharing Massachusetts citizenship with the Najdas. Hence, the

original plaintiff had overlapping citizenship with both Najdas. There was neither complete

diversity nor minimal diversity at the time this action was commenced.


II.      HISTORY OF DIVERSITY JURISDICTION

    A.   Constitutional Diversity

         Article III, Section 2 of the Constitution provides that “[t]he judicial Power shall extend

to,” among other things, “Controversies between two or more States;—between a State and

Citizens of another State;— between Citizens of different States;—between Citizens of the same

State claiming Lands under Grants of different States, and between a State, or the Citizens thereof,

and foreign States, Citizens or Subjects.”

         The Supreme Court interpreted this clause to mean that federal jurisdiction over disputes,

involving exclusively state claims, was authorized under the Constitution “so long as any two

adverse parties are not co-citizens.” State Farm Fire & Cas. Co. v. Tashire, 386 U.S. 523, 531

(1967). “‘[M]inimal diversity,’ [] is, diversity of citizenship between two or more claimants,

without regard to the circumstance that other rival claimants may be cocitizens.” Id. at 530.




1
  Citibank, N.A., as Trustee for the Benefit of SWDNSI Trust Series 2010-3 (“Citibank No. 1”).
The original plaintiff.
2
  SWDNSI Trust Series 2010-3 (“SWDNSI 2010”).
                                                  2
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Constitutional diversity, therefore, is satisfied when there is minimal diversity at the time the action

is commenced. Auctus Fund, LLC v. Drone Guarder, Inc., 588 F. Supp. 3d 177, 186 (D. Mass.

2022) (“the Constitution only requires ‘minimal diversity’”).

 B.     Statutory Diversity

        The Judiciary Act of 1789 established the circuit courts and the federal district courts. 1

Stat. 73 (1789). In passing the Act, the First Congress did not, however, vest in the federal courts

jurisdiction over disputes involving parties that satisfied minimal diversity as set forth in Article

III of the Constitution. Instead, the Judiciary Act of 1789 limited diversity jurisdiction to cases

where one of the parties was a citizen of the state where the suit had been brought. Subsequently,

when considering the precursor to 28 U.S.C.S. § 1332(a)(1) “[i]n Strawbridge v. Curtiss, 3 Cranch

267 (1806), [the Supreme] Court held that the diversity of citizenship statute required ‘complete

diversity’: where co-citizens appeared on both sides of a dispute, jurisdiction was lost.” State

Farm, 386 U.S. at 530-31.

        At present, “[u]nder Section 1332(a) … federal courts have diversity jurisdiction over cases

between” “Citizens of different States”. Auctus, 588 F. Supp. 3d at 181; 28 U.S.C.S. § 1332(a)(1).

“This statutory grant requires complete diversity between the plaintiffs and defendants in an

action.” Picciotto v. Cont’l Cas. Co., 512 F.3d 9, 17 (1st Cir. 2008). Statutory diversity, therefore,

is satisfied when there is complete diversity at the time the action is commenced.

        “The dominant note in the successive enactments of Congress relating to diversity

jurisdiction, is one of jealous restriction, of avoiding offense to state sensitiveness, and of relieving

the federal courts of the overwhelming burden of ‘business that intrinsically belongs to the state

courts,’ in order to keep them free for their distinctive federal business. See Friendly, The Historic

Basis of Diversity Jurisdiction, 41 Harv. L. Rev. 483, 510; Shamrock Oil Corp. v. Sheets, 313 U.S.


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100, 108-09”. Northbrook Nat’l Ins. Co. v. Brewer, 493 U.S. 6, 18 (1989) (Stevens J. dissenting

opinion) (quoting Indianapolis v. Chase National Bank, 314 U.S. 63, 76 (1941)).

         In this instance, “[t]he statutory grant of federal jurisdiction in diversity cases” controlled;

the original plaintiff Citibank No. 1 was required to establish complete diversity between itself and

the Najdas. Picciotto, 512 F.3d at 17. Citibank No. 1 did not establish complete diversity. Nor was

there minimal diversity; both Najdas had the same citizenship and neither Najda was diverse from

Citibank No. 1.


III.     ARGUMENT

    A.   The District Court Lacked Subject Matter Jurisdiction at the Start Because Citibank
         No. 1 Was the Passive Trustee of the Non-Diverse Unincorporated Entity

         Neither Citibank No. 23 nor the counterclaim defendants (collectively, “Citibank No. 2 et

al.”) met their burden of establishing subject matter jurisdiction by a preponderance of the

evidence. Citibank No. 2 et al. did not dispute the evidence that proved the original plaintiff

Citibank No. 1 was a passive trustee, without real and substantial control over SWDNSI 2010.

Citibank No. 2 et al. did not dispute that SWDNSI 2010 was non-diverse. They did not cite any

countervailing evidence in the record. Derelict in meeting their jurisdictional burden, Citibank No.

2 et al. cannot plausibly claim there was diversity. Subject matter jurisdiction was lacking from

the start.

         Dismissal is mandated when a passive trustee of a non-diverse unincorporated entity files

an action pursuant to 28 U.S.C. § 1332(a)(1) exclusively because a Court lacks subject matter

jurisdiction at the start. See Flowchart 1 on page 5.




3
 Citibank, N.A. not in its individual capacity, but solely as separate trustee for PMT NPL
Financing 2015-1 (“Citibank No. 2”). The third plaintiff after two substitutions.
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                                                        Flowchart 1
  Is there subject matter jurisdiction when a trustee of a trust files an action
                   pursuant to only 28 U.S.C. § 1332(a)(1)?


                            Apply the Navarro Rule
trustees who meet this standard [of having real and substantial control over the
trust] [can] sue in their own right without regard to the citizenship of the trust
    beneficiaries Navarro Sav. Ass n v. Lee, 446 U.S. 458, 465-66 (1980)


                                                                         Fiduciary Relationship
                               What is the trust?
                                                                 e.g. Traditional Trust or Express Trust *

                           Unincorporated Entity
         e.g. Statutory Trust or Real Estate Investment Trust (REIT)

       Determine if the trustee has real and substantial control over the
  unincorporated entity, e.g. it controls the litigation and manages the assets

                   Facial challenge: evaluate the complaint
      Factual challenge: evaluate the evidence, e.g. trust documents and
       management contracts with SEC registered investment advisors


                                                                                   Yes
                              Is the trustee active?               The trustee has real and substantial
                                                                  control over the unincorporated entity

                                     No
                  Some other entity has real and substantial
                   control over the unincorporated entity

                                                                                                   The trustee s citizenship controls
  The unincorporated entity s citizenship controls for diversity jurisdiction
                                                                                                       for diversity jurisdiction

                           Apply the Americold Rule
So long as [] an entity is unincorporated, we apply our oft-repeated rule that it
                                                                                                            Is there complete
                 possesses the citizenship of all its members.
                                                                                                      diversity between the trustee
Americold Realty Trust v. ConAgra Foods, Inc., 136 S. Ct. 1012, 1016 (2016)
                                                                                                          and opposing party?

  Determine the citizenship of the unincorporated entity by aggregating the
 citizenship of all its members and use an iterative process if a member is an             Yes
                            unincorporated entity
                                                                                                                    No



                         Is there complete diversity
                                                                                   The Court has subject
                      between the unincorporated entity               Yes
                                                                                    matter jurisdiction
                             and opposing party?


                                       No

             The Court does not have subject matter jurisdiction
                                                                                                 * Yueh-Lan Wang v. New Mighty U.S. Trust,
                                                                                                      843 F.3d 487, 494 (D.C. Cir. 2016)




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 1.    Jurisdiction Must Be Established Without Exception

       “The requirement that jurisdiction be established as a threshold matter ‘springs from the

nature and limits of the judicial power of the United States’ and is ‘inflexible and without

exception.’” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94-95 (1998) (quoting Mansfield,

C. & L. M. R. Co. v. Swan, 111 U.S. 379, 382 (1884)). “[F]ederal courts are courts of limited

jurisdiction, and . . . may exercise only the authority granted to them by Congress.” Commonwealth

of Mass. v. Andrus, 594 F.2d 872, 887 (1st Cir. 1979).

 2.    Existence of Subject Matter Jurisdiction Is Not Presumed

       “It is to be presumed that a cause lies outside [of the federal courts’] limited jurisdiction”.

Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (citations omitted); DMB

Fin. LLC v. Symple Lending LLC, Civil Action No. 21-12065-FDS, 2022 U.S. Dist. LEXIS

200232, at *3 (D. Mass. May 3, 2022) (quoting Fafel v. Dipaola, 399 F.3d 403, 410 (1st Cir.

2005)) (“Again, ‘[t]he existence of subject-matter jurisdiction is never presumed.’”).

 3.    Citibank No. 2 et al. Bear the Burden of Establishing Jurisdiction

       The “plaintiff who seeks to bring [its] suit in a federal forum [it] bears the burden of

establishing that the federal court has subject-matter jurisdiction.” Klimowicz v. Deutsche Bank

Nat’l Tr. Co., 907 F.3d 61, 64 (1st Cir. 2018) (citation omitted). The Najdas, as respondents to the

parties invoking jurisdiction, do not have the burden of proving the lack of subject matter

jurisdiction. “[N]otwithstanding the length of litigation or the resources that have been devoted to

the matter, ‘[the Najdas] cannot confer subject matter jurisdiction on a federal court’”. Am. Fiber

& Finishing, Inc. v. Tyco Healthcare Grp., LP, 362 F.3d 136, 139 (1st Cir. 2004) (quoting U.S. v.

Horn, 29 F.3d 754, 768 (1st Cir. 1994)).




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 4.    Diversity Jurisdiction Statutes Are Strictly Construed and Doubts Resolved Against
       Jurisdiction

        “[D]iversity jurisdiction statutes should be strictly construed against federal jurisdiction”.

In re Mass. Diet Drug Litigation, 338 F. Supp.2d 198, 202 (D. Mass. 2004) (and cases cited). Just

as “any doubts concerning the Court’s jurisdiction should be resolved against removal” so to

should doubts be resolved against original diversity jurisdiction. Peerless Ins. Co. v. Phila. Ins.

Co., No. 12-906-ML, 2013 U.S. Dist. LEXIS 107256, at *6 (D.R.I. July 31, 2013).

 B.    Under Navarro, SWNDSI 2010’s Citizenship Controlled Because Citibank No. 1 Was
       a Passive Trustee

       When a trustee of an unincorporated entity sues, as Citibank No. 1 did, it must be an “active

trustee[] whose control over the assets held in [its] name[] is real and substantial” to “invoke the

diversity jurisdiction of the federal courts on the basis of [its] citizenship, rather than that of the

[unincorporated entity’s] shareholders.” Navarro, 446 U.S. at 458, 465. Indeed, “the touchstone

of the test is a review of the [trustee’s] legal powers, rights and duties [that] was reaffirmed in

Navarro”. Wilsey v. Eddingfield, 780 F.2d 614, 615 (7th Cir. 1985). Restated, if the trustee is

passive, neither “manag[ing] the assets” nor “control[ling] the litigation”, the unincorporated

entity’s citizenship controls. Navarro, 446 U.S. at 465.

       “Navarro certainly did not say that a trustee is the real party in interest as long as it holds

title to trust assets. If that were what the Supreme Court had intended, it would have been wholly

unnecessary for it to examine … the trustee’s powers to invest assets … [or] control litigation

strategy”. U.S. Bank Nat’l Ass’n v. Coop. Dist. of Spanish Fort, No. 11-0401-WS-M, 2011 U.S.

Dist. LEXIS 112026, at *14 (S.D. Ala. Sep. 29, 2011).

       “[The Navarro] rule coexists with [the Supreme Court’s] discussion” of unincorporated

entities in Americold. Americold, 577 U.S. at 383. Further, Americold did not overrule Navarro’s


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holding that a trustee must have “real and substantial” control over the assets and litigation for the

trustee to invoke diversity jurisdiction on the basis of its citizenship instead of the unincorporated

entity’s. Navarro, 446 U.S. at 458, 465.

 C.     Wrong to Conflate the Navarro Rule and the Real Party of Interest Standard

        When determining the citizenship of a trustee of an unincorporated entity, citizenship is

ascertained applying the Navarro rule: whether the trustee has real and substantial control over the

assets and litigation. Not determined using the real party in interest standard of Rule 17 (a). “[T]he

‘real party in interest’ standard of Rule 17 (a) and the rule that diversity jurisdiction depends upon

the citizenship of real parties to the controversy … serve different purposes and need not produce

identical outcomes in all cases.” Navarro, 446 U.S. at 463 n. 9.

        Though it can be confusing when Courts, applying Navarro, describe the Navarro rule as

determining the “real party in interest for jurisdictional purposes”, Courts do not merely interpose

Rule 17 (a)’s real party in interest standard to determine the controlling citizenship for evaluating

diversity. Sp. Fort, 2011 U.S. Dist. LEXIS at *14. Courts examine a trustee’s power over the assets

and control of the litigation to determine if it or the unincorporated entity’s citizenship controls.

        Navarro did not say that the trustee’s citizenship controls in a judicial foreclosure if the

trustee merely holds the mortgage and note. “If that were what the Supreme Court had intended, it

would have been wholly unnecessary for it to examine … the trustee’s powers to invest assets …

[or] control litigation strategy”. Id.

        Previously, Citibank No. 2 et al. asserted holding was enough; wrongly conflating the real

party of interest with standing to foreclose with the real and substantial powers standard of

Navarro. “If plaintiff’s reading were correct, the Supreme Court could have skipped all of the

above discussion and simply decreed that a trustee’s title to trust assets is a binary on/off switch


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that singlehandedly dictates whether the trustee is a real party in interest [for evaluating diversity

jurisdiction]. Navarro did nothing of the sort.” Id.

 D.     This Memorandum’s Application of Navarro Is Consistent With Other Circuit Courts

        The Seventh Circuit applied Navarro and analyzed a trust document to conclude a trustee

had sufficient real powers to be designated active. Goldstick v. ICM Realty, 788 F.2d 456, 458 (7th

Cir. 1986). Similarly in the foreclosure context, the Fifth Circuit applied Navarro and determined

that the trust document, already part of the record, outlined sufficient real powers to designate the

trustee active. Bynane v. Bank of N.Y. Mellon, 866 F.3d 351, 357 (5th Cir. 2017). The Third Circuit

applied Navarro and found the trustees had real and substantial powers so their citizenship

controlled. GBForefront, L.P. v. Forefront Mgmt. Grp., LLC, 888 F.3d 29, 37 (3d Cir. 2018).

        Circuit Courts also distinguish between a trustee of an unincorporated entity and a trustee

of a fiduciary relationship, e.g. a traditional trust. Demarest discussed determining the controlling

citizenship “in cases where … the trustee of a traditional trust [i.e. a fiduciary relationship] is sued”

and invoked diversity jurisdiction. Demarest v. HSBC Bank USA, N.A., 920 F.3d 1223, 1231 (9th

Cir. 2019). The Ninth Circuit did not opine on what was the controlling citizenship for a trustee of

an unincorporated entity invoking diversity jurisdiction. Demarest distinguished “fiduciary

relationships … from … unincorporated artificial entities”. Demarest, 920 F.3d at 1229. This

distinction is a fork in the road that leads to distinct rules for determining the controlling

citizenship. See Flowchart 1 on page 5.

 E.     This Memorandum’s Application of Navarro Is Consistent With Other District
        Courts

        When the Court found that “Defendants merely recited the Navarro standard and failed to

provide any evidence of such ‘customary powers’” the Court “REMANDED to the 152nd Judicial

District Court of Harris County, Texas.” Smith v. Bank of N.Y. Mellon, No. H-16-1669, 2017 U.S.

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Dist. LEXIS 56337, at *2 (S.D. Tex. Jan. 18, 2017). Within the same district in another foreclosure

related case, the Court explained that “the burden is on Defendants to classify the trust, establish

its citizenship, and prove complete diversity.” Pitts v. Bank of N.Y. Mellon, No. 4:16-CV-01410,

2017 U.S. Dist. LEXIS 49992, at *10 (S.D. Tex. Feb. 14, 2017). The Court then found that

“Defendants have not done so. This failure, coupled with Plaintiffs’ assertions, is ‘sufficient to cast

doubt on whether this court has subject matter jurisdiction.’ … Accordingly, this Court must

remand.” Id. (citations omitted).

       Elsewhere the Court “dismissed for lack of subject matter jurisdiction” after the Court had

found “this Delaware statutory trust seems precisely like the type considered by the Supreme Court

in Americold, and U.S. Bank has failed to demonstrate that it is a real party to the controversy that

can proceed in its own right and without reference to the citizenship of the trust’s beneficiaries”.

U.S. Bank Tr., N.A. v. Dupre, No. 6:15-CV-0558 (LEK/TWD), 2016 U.S. Dist. LEXIS 127848, at

*12 (N.D.N.Y. Sep. 20, 2016). In a different district within the Second Circuit, the Court

determined that “Plaintiff ha[d] also not established citizenship of the trust, nor that the trustee was

a ‘real and substantial’ party … such that it’s citizenship could be used to establish subject matter

jurisdiction”. Wilmington Sav. Fund Soc’y, FSB v. Thomson, No. 18-cv-3107 (NSR), 2019 U.S.

Dist. LEXIS 106184, at *6-7 (S.D.N.Y. June 25, 2019). In so concluding, the Court granted the

“motion to dismiss … pursuant to Fed. R. Civ. P. § 12(b)(1).” Id. at *8.

 F.    Citibank No. 2 Previously Cited a Decision From This District That Misquoted
       Navarro, Altering Navarro’s Holding

       To justify its result, the Dedoming Court misquoted Navarro by omitting the five (5) words

“trustees who meet this standard” immediately preceding “[can] sue in their own right, without

regard to the citizenship of the trust beneficiaries.” U.S. Bank Trust, N.A. v. Dedoming, 308 F.

Supp. 3d 579, 580 (D. Mass. 2018); Navarro, 446 U.S. at 465-66. The District Court also

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misquoted the Tenth Circuit, writing “[w]hen a trustee is a party to litigation, it is the trustee’s

citizenship that controls for purposes of diversity jurisdiction” but omitting the immediately

adjacent clause “, as long as the trustee satisfies the real-party-in-interest test set out in Navarro.”

Dedoming, 308 F. Supp. 3d at 580; Conagra Foods, Inc. v. Americold Logistics, LLC, 776 F.3d

1175, 1181 (10th Cir. 2015). The two misquotations wrongly altered the meaning of Navarro by

deleting the required standard of real and substantial power over the assets and litigation for the

trustee’s citizenship to control.

        The District Court did not make findings of fact to establish the trustee met the required

standard of real and substantial power for the trustee’s citizenship to control or that the

unincorporated entity was diverse. Citibank No. 2 previously parroted the misquotation in

Dedoming in filings before this Court and in appellate briefing; Citibank No. 2 was and remains

on notice that Dedoming is inapplicable case law.

 G.     The Original Plaintiff, Citibank No.1, Was a Passive Trustee Without Real and
        Substantial Control Over the Unincorporated Entity

        Filing pursuant to 28 U.S.C. § 1332(a)(1) exclusively, Citibank No. 1 neither pled facts to

establish it is an active trustee nor pled facts to establish SWDNSI 2010 was diverse. D. E. No. 1,

Complaint ⁋ 6. The complaint, therefore, failed to allege diversity. Further, evidence proved

Citibank No. 1 was “a purely naked trustee”. McNutt v. Bland, 43 U.S. 9, 13-14 (1844).

        Citibank No. 1 neither “manage[d] the assets” of SWDNSI 2010 nor “control[ed] the

litigation” nor made decisions regarding the loan. Navarro, 446 U.S. at 465. Citibank No. 2 et al.

did not dispute, before this Court or in briefing to the First Circuit, that the original plaintiff,

Citibank No. 1, did “not manage [SWDNSI 2010’s assets] or dispose of [them]”. Long v. Halliday,

768 F. App’x 811, 815 (10th Cir. 2019). Citibank No. 2 was a passive trustee.




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 1.    Investment Advisor PNMAC Managed SWDNSI 2010’s Assets, Not Citibank No. 1

       PNMAC Capital Management, LLC (“PNMAC”) managed SWDNSI 2010’s assets.

PNMAC, which was “registered with the Securities and Exchange Commission (‘SEC’) as an

investment adviser”, “has management agreements with PennyMac Mortgage Investment Trust

(“PMT”) [and its subsidiary SWDNSI 2010]” whereby PNMAC “selects investments … and

places purchase and sale orders for investments on behalf of such entities.” D. E. No. 375-2,

PNMAC’s Parent 10-Q Note 1 at 1 (June 30, 2014); D. E. No. 375-3, PNMAC Part 2A of Form

ADV at 4; A173, PMT 10-K Report (“SWDNSI Trust Series 2010-3” is a PMT “Entity”). PNMAC

exclusively – with no input from the trustee – controlled the loans owned by SWDNSI 2010. D.

E. No. 375-3, Form ADV at 4.

       Citibank No. 2 et al. did not deny that PNMAC had “sole investment discretion for [PMT

and its subsidiary SWDNSI 2010] … with respect to their respective assets and makes all decisions

affecting each client’s assets”. D. E. No. 375-3 at 4. Citibank No. 1 did not control the assets in

SWDNSI 2010.

 2.    Investment Advisor PNMAC Controlled the Litigation Strategy, Not Citibank No. 1

       Citibank No. 1 did not control the litigation strategy. Citibank No. 2 et al. did not deny

counsel was told how to proceed by PNMAC’s asst. general counsel at the Local Rule 16.1(D)(3)

conference. D. E. No. 63, Local Rule 16.1 Certification at 2; D. E. No. 419-5, Eric Jorgensen.

PNMAC, not Citibank No. 1, had real and substantial power over SWDNSI 2010.

       PNMAC, which was in control, was not diverse from the Najdas. PNMAC inherited the

citizenship of several entities, including HC Partners LLC. D. E. No. 158-4, Notes to Financial

Statements at 7 and 17 of exhibit (HC Partners LLC owned and had an “investment in …

‘PNMAC’”). HC Partners LLC possessed the citizenship of all its members and was the conduit


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through which the Boston based “Managing Directors of [Highfields Capital Management LP

(‘Highfields’)] owned a minority interest in Private National Mortgage Acceptance Company,

LLC.” D. E. No. 158-5, Highfields Capital Management LP Part 2A of Form ADR at 14.

 3.    Citibank No. 1 Admitted It Did Not Make Decisions and Did Not Possesses Documents
       Related to the Note and Mortgage

       Citibank No. 1 was “a purely naked trustee”, nothing more than a “mere conduit” without

real and substantial control over SWDNSI 2010 because it admitted “it did not make any

decisions” and “d[id] not [] possess any documents regarding the Najdas’ Note and Mortgage”.

McNutt, 43 U.S. at 13-14; D. E. No. 375-1, Resp. to Interrogatory Nos. 8, 11; D. E. No. 110 at 5.

 4.    Citibank No. 2 Stipulated to the Exclusion of SWDNSI 2010’s Trust Documents

       “Whether the trustee possesses such [real and substantial] powers is a question that is

resolved based on the underlying trust document.” U.S. Bank Nat. Ass’n v. Nesbitt Bellevue Prop.,

LLC, 859 F. Supp. 2d 602, 606 (S.D.N.Y. 2012). Citibank No. 2, though, stipulated to the exclusion

of all trust documents and evidence of the authority of the trustee. D. E. No. 453, Nov. 2, 2017

Hr’g Tr. 41:6-8 (“we didn’t produce [the trust documents] and … we would not be introducing it

at trial”). As a result, this Court mooted the Najdas’ motions in limine (D. E. Nos. 281, 289) to

preclude the trust documents and evidence of the trustee’s authority, which Citibank No. 1 had

failed to produce during discovery. D. E. No. 312, November 2, 2017 Hr’g Notes.

       Citibank No. 2 et al. cannot prove Citibank No. 1 was active by referencing any alleged

documented powers because they were not made part of the record.




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                                       Flowchart 2
           Is there subject matter jurisdiction when Citibank No. 1 files this action?


                                 Apply the Navarro Rule
                   Navarro Sav. Ass n v. Lee, 446 U.S. 458, 465-66 (1980)




                                       What is the trust?



                          SWDNSI 2010 is an unincorporated entity

        Determine if Citibank No. 1 has real and substantial control over SWDNSI 2010


    •   Citibank No. 1 neither controls SWDNSI 2010 s assets nor controls the litigation
    •   Citibank No. 1 stipulated to the exclusion of the trust documents




                                     Is the trustee active?



                                              No
         Citibank No. 1 does not have real and substantial control over SWDNSI 2010

                SWDNSI 2010 s citizenship controls for diversity jurisdiction


                                 Apply the Americold Rule
         Americold Realty Trust v. ConAgra Foods, Inc., 136 S. Ct. 1012, 1016 (2016)


                         Determine the citizenship of SWDNSI 2010


    •   SWDNSI 2010 inherits Massachusetts citizenship from PMT, a widely held
        Maryland real estate investment trust that has Massachusetts citizenship




                                       Is there complete
                                           diversity?


                                         No
                SWDNSI 2010 and the Najdas share Massachusetts citizenship

                      The Court does not have subject matter jurisdiction

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 H.    SWDNSI 2010’s Citizenship Controlled Because Citibank No. 1 Was a Passive
       Trustee

       Since Citibank No. 2 was a passive trustee, without real and substantial power and control

over the assets and litigation, when this action commenced, under Navarro, SWDNSI 2010’s

citizenship controlled for evaluating diversity. Navarro, 446 U.S. at 465-66.

  I.   SWDNSI 2010 Was Not Diverse

 1.    An Iterative Enumeration of SWDNSI 2010’s Ownership Structure Was Missing

       Citibank No. 2 et al. did not establish that SWDNSI 2010 was diverse from the Najdas. An

enumeration of the unincorporated entity’s entire ownership structure was conspicuously missing

from the record before this Court and from appellees’ briefs on appeal. Americold, 577 U.S. at 383

(“unincorporated [entity] … possesses the citizenship of all its members”). Without a full

accounting of the citizenship that SWDNSI 2010 inherits, Citibank No. 2 et al. cannot prove by a

preponderance of the evidence the unincorporated entity was diverse. SWDNSI 2010 is presumed

to have shared Massachusetts citizenship with the Najdas when this action began.

 2.    Evidence Established SWDNSI 2010 Had Massachusetts Citizenship

    a) SWDNSI 2010 Was an Unincorporated Entity

       Plaintiff admitted SWDNSI 2010 was a Delaware statutory trust, which “means an

unincorporated association”. D. E. No. 1, Complaint ⁋ 3 (“SWDNSI Trust Series 2010-3 …, a

Delaware Statutory Trust”); 12 Del. C. § 3801(g). It was not a fiduciary relationship like a

traditional trust. Unlike a fiduciary relationship, which cannot sue or be sued, SWDNSI 2010 “may

sue and be sued”. 12 Del. C. § 3804(a).

    b) Americold Rule

       “So long as such an entity is unincorporated, we apply our ‘oft-repeated rule’ that it

possesses the citizenship of all its members.” Americold, 577 U.S. at 383.
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   c) Evidence That SWDNSI 2010 Had Massachusetts Citizenship

       SWDNSI 2010 inherited Massachusetts citizenship from its member PMT, “a real estate

investment trust [that] is an ‘unincorporated business trust or association.’” Americold, 577 U.S.

at 382 (citing Md. Corp. & Assns. Code Ann. § 8-101(c)); D. E. No. 375-5, PMT Declaration

Article I; D. E. No. 375-4, PMT 10-K Report (“SWDNSI Trust Series 2010-3” is a PMT “Entity”).

       As a result, “the citizenship of each of that member’s members … must then be

considered.” D.B. Zwirn Special Opp. Fund, L.P. v. Mehrota, 661 F.3d 124, 126-27 (1st Cir. 2011).

This iterative process reveals that SWDNSI 2010 inherited Massachusetts citizenship from the

members of PMT, which was widely owned, including State Street Corp., Clough Capital Partners

LP, and FMR LLC. D. E. No. 375-6, State Street Form 13F at 99/124 (quarter ending 9/30/2014);

First Mortg. Corp. v. State St. Bank & Trust Co., 173 F. Supp. 2d 1167, 1170 (D. Utah 2001) (State

Street has Massachusetts citizenship because its “principal place of business is in Massachusetts”).

       The lack of a complete accounting of SWDNSI 2010’s ownership was sufficient to

establish that SWDNSI 2010 was presumed to be not diverse. Further, the evidence of SWDNSI

2010’s Massachusetts citizenship established that SWDNSI 2010 was not diverse.

 J.    There Was Neither Complete Diversity Nor Minimal Diversity When This Action
       Commenced

       There was not complete diversity when this action began because SWDNSI 2010’s

citizenship controlled it shared Massachusetts citizenship with at least one of the Najdas.

Moreover, there was not minimal diversity when this action began because SWDNSI 2010 and

each of the Najdas shared Massachusetts citizenship. This Court lacked subject matter jurisdiction

from the start because Citibank No. 1 was the passive trustee of the non-diverse unincorporated

entity SWDNSI 2010. See Flowchart 2 on page 14. Therefore, this action must be dismissed for

lack of subject matter jurisdiction. Fed. R. Civ. P. 12(h)(3).

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IV.     CONCLUSION

        “We sum up briefly. [Since the original plaintiff Citibank No. 1 was the passive trustee of

the non-diverse unincorporated entity SWDNSI 2010 when this action commenced,] [t]he

jurisdiction which plaintiff posited under 28 U.S.C. § 133[2] was bogus because true diversity of

citizenship was lacking”. Ne. Fed. Credit Union v. Neves, 837 F.2d 531, 536 (1st Cir. 1988).

Complete diversity, required by statute, did not exist at the start. “The district court never obtained

jurisdiction over the subject matter of the suit.” Id.

        The Najdas respectfully request this Court enter an Order finding and concluding that there

was neither complete diversity nor minimal diversity when this action commenced, that this Court

lacked subject matter jurisdiction, and granting such other and further relief to which this Court

finds the Najdas are otherwise entitled.



                                                Respectfully submitted,


                                                Andrew Najda and Renee Najda,
                                                /s/ Andrew Najda
                                                and
                                                /s/ Renee Najda

                                                71 Flint Road,
Date: January 30, 2023                          Concord, MA 01742




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V.     CERTIFICATE OF SERVICE

       I certify that, on January 30, 2023, I filed the foregoing document with the Clerk of the

United States District Court for the District of Massachusetts via the CM/ECF system. All

attorneys in this case who are registered CM/ECF users were served accordingly.




                                            /s/ Andrew Najda
                                            Andrew Najda




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